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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
______________________________________
                                       )
COMMON GROUND HEALTHCARE               )
COOPERATIVE,                           )
                                       )
                  Plaintiff,           )   No. 17-877C
                                       )
            v.                         )   Filed: June 1, 2021
                                       )
THE UNITED STATES,                     )
                                       )
                  Defendant.           )
______________________________________ )

                                             ORDER

       On April 13, 2021, the Dispute Subclass, which consists of Freelancers Co-Op of New

Jersey, Inc., and the United States filed a stipulation to entry of judgment. See Stip. for Entry of

Partial J. as to the Dispute Subclass, ECF No. 142. The parties stipulate that the Dispute Subclass

is entitled to payment from the United States in the amount of $44,399,653.90 under the risk

corridors program created by Section 1342 of the Patient Protection and Affordable Care Act, Pub.

L. No. 111-148 (2010), 124 Stat. 119, and the Health Care and Education Reconciliation Act of

2010, Pub. L. No. 111-152 (2010), 124 Stat. 1029 (collectively, the “ACA”), for the 2016 benefit

year. See ECF No. 142 at 3. The parties further stipulate that the United States is entitled to

payment from the Dispute Subclass in the amount of $32,659,026.85, which includes payments

from the Dispute Subclass associated with advance payment of tax credits, cost-sharing reductions,

cost-sharing reduction reconciliations, federally-facilitated exchange user fees, risk adjustment

program user fees, and a start-up loan received from the United States. Id. The parties request

that the Court enter judgment in favor of the Dispute Subclass and judgment in favor of the United

States in accordance with the stipulation. See id. at 3-4.
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       Having determined pursuant to Rule 54(b) of the Rules of the United States Court of

Federal Claims that there is no just reason for delay, the Court directs the Clerk to enter final

judgment in favor of the Dispute Subclass in the amount of $44,399,653.90 and final judgment in

favor of the United States in the amount of $32,659,026.85. The judgment in favor of the United

States shall be paid and satisfied in full through deduction from the amount owed under the

judgment to the Dispute Subclass, creating a net amount payable by the United States to the

Dispute Subclass totaling $11,740,627.05.

       SO ORDERED.



Dated: June 1, 2021                                       /s/ Kathryn C. Davis
                                                    KATHRYN C. DAVIS
                                                    Judge




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